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JOSE OSCAR CHAVEZ, et al.,
Plaintiffs,

vs. Civ. No. 03-2932-M1[P

NICOLAS CARRANZA,

Defendant.

 

ORDER GRANTING PLAINTIFFS' MOTION TO COMPEL DEPOSITION TESTIMONY
OF DR. J. MICHAEL WALLER AND DENYING DEFENDANT'S MOTION TO QUASH
THE NOTICE OF DEFOSITION OF DR. J. MICHAEL WALLER AND FOR
PROTECTIVE ORDER

 

Before the court is plaintiffs' Motion to Compel Deposition
Testimony of Dr. J. Miohael Waller and Denying Defendant's Motion
to Quash the Notice of Deposition of Dr. J, Michael Waller and for
Protective Order, both filed on August 2, 2005. On August 2, the
court held a telephone conference with counsel of record. At the
conclusion of the conference, the court GRANTED the plaintiffs'
motion to compel and DENIED the defendant's motion to quash as
follows:

l. Dr. J. Michael Waller has been identified as an expert
witness on behalf of the defendant.

2. Pursuant to the court's case management order, the

deadline to complete expert discovery was May 27, 2005.

This document entered on the docket sheet |n compl!ance

with Rula 58 and,"or 79(3) FF|CP on 323-25

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3. Due to personal difficulties relating to defense counsel's
family, the plaintiffs agreed to delay taking the deposition of Dr.
Waller. In letters sent by plaintiffs‘ counsel to defendant's
counsel dated June 13, 2005 and June 29, 2005, the plaintiffs
emphasized that they had not yet received Dr. Waller's expert
report and that Dr. Waller's deposition must be completed by the
first week of August.

4. Dr. Waller's expert report was provided to the plaintiffs
on July 12, 2005, approximately six weeks after the deadline for
completing expert depositions.

5. On July 25, 2005, the plaintiffs noticed Dr. Waller's
deposition for August 4, 2005, in Washington, D.C. (where Dr.
Waller resides).

6. On August 1, 2005, the defendant informed the plaintiffs
that Dr. Waller would not be able to sit for his deposition on
August 4, and suggested alternative dates of August 17 through 31.
In a letter dated August l (attached to defendant's motion to
quash), Dr. Waller states that he has a publishing deadline that
will prevent him from being deposed.

7. The court finds that the defendant and Dr. Waller have not

articulated a sufficient basis to postpone the deposition.

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8. Therefore, Dr. Waller shall comply with the notice of

deposition and appear for his deposition on August 4, 5, or 6,

2005, in Washington, D.C.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
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ESSEE

 

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US DISTRICT COURT

